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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


    UNITED STATES OF AMERICA
                                                No. 22 CR 234
                 v.
                                                Judge Gary Feinerman
    BECKY LOUISE SUTTON


                          FOURTH JOINT STATUS REPORT

         Pursuant to this Honorable Court’s Order of September 20, 2022 [Doc. 20], the

parties have conferred and are in agreement as to the following:1

                Procedural Background/Status

         1.     On or about April 20, 2022, defendant was charged in a multi-count

indictment with wire fraud, 18 U.S.C. § 1341 (Counts 1-3) and theft of funds from a

bankruptcy estate, in violation of 18 U.S.C. § 153 (Counts 4-6).

         2.     On May 5, 2022, after an initial appearance and bond hearing was

conducted by the assigned Magistrate Judge, defendant was released on a secured

appearance bond, pursuant to an agreement with the Government on the conditions

of release. A status hearing was scheduled for June 6, 2022.

         3.     On or about June 1, 2022, this Court entered an agreed protective order

governing discovery.

         4.     On or about June 2, 2022, the parties filed their first joint status report,

indicating that additional time was required for review of the discovery in this case,



1   The Government apologizes for the late submission.
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which is complex and voluminous, and consists of hundreds of pages of materials

relating to a complex scheme to defraud that is alleged in the indictment.

        5.   On June 9, 2022, the Government re-produced a preliminary disclosure

and other materials in the case, which consists of hundreds of pages of materials

relating to the above-described scheme. Prior to that time, and several times before

the indictment was returned, the Government and defense counsel discussed the case

and the potential for plea trial resolution. The Government also produced an early

disclosure before indictment, but not all of the materials produced in the preliminary

disclosure were included.

        6.   On or about July 27, 2022, the parties filed their second joint status

report, indicating that additional time was required for review of the discovery in this

case.

        7.   On or about September 20, 2022, the parties filed their third joint status

report, indicating that additional time was required for review of the discovery in this

case.

        8.   At this juncture, after further discussions with his client, counsel

informed the Government that his client requests a proposed plea agreement from

the Government. Based on the schedule and work-commitments of the undersigned

and defense counsel, the Government expects that parties will need 45 days from

November 10, 2022, to finish drafting a proposed plea agreement and to determine

whether this matter may be resolved pretrial.


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             Joint Recommendation of the Parties

      9.     At this time, the parties are not seeking a trial date and jointly propose

that the Court strike the November 17, 2022, status date, and schedule the case for

another status hearing in approximately 45 days, so that the parties may report on

the progress of the above matters at that time and inform the Court of the status of

their discussions concerning potential pretrial resolution.

      10.    In the meantime, the parties jointly request that time be excluded in the

interest of justice, pursuant to 18 U.S.C. §§ 3161(h)(7)(A), (B)(iv), given the

complexity of the case, the time needed further preparation, consideration of a draft

plea agreement, and delays associated with the pandemic, among other things.

                                        Respectfully submitted,


                                        JOHN R. LAUSCH, JR.
                                        United States Attorney

                                 By:    /s/ Kartik K. Raman
                                        KARTIK K. RAMAN
                                        Assistant U.S. Attorney
                                        219 South Dearborn St., Rm. 500
                                        Chicago, Illinois 60604
Dated: November 11, 2022                (312) 469-6026




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